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                    10th CIR. FORM 4. DISCLOSURE STATEMENT

                           UNITED STATES COURT OF APPEALS
                                FOR THE TENTH CIRCUIT

          Fed. R. App. P. 26.1 and Tenth Circuit Rule 26.1 Disclosure Statement

     CAROL W. GARRETT and TERRY
     LEE GARRETT,
               Appellants,                                    Case No. 24-8013
     v.

     WELLS FARGO BANK, N.A.,
               Appellee.

 Pursuant to Federal Rule of Appellate Procedure 26.1(a), (b), and/or (c), the undersigned, on
 behalf of Appellee Wells Fargo Bank, N.A.
                              [Party Name(s)]
          1
 certifies as follows:

           X      The following parent corporation(s); publicly held corporation(s); organizational
                  victim(s); and/or debtor(s) are disclosed as required by Fed. R. App. P. 26.1
                  (attach additional pages if necessary):

                Wells Fargo Bank, N.A. is a wholly-owned subsidiary of Wells Fargo &
 Company, a publicly-held corporation. No publicly held corporation owns 10% or more of the
 stock of Wells Fargo & Company.

                  There is no information to disclose pursuant to Fed. R. App. P. 26.1.


 March 21, 2024
 Date

 /s/ Isaac N. Sutphin
 Signature


 1
  Pursuant to Federal Rule of Appellate Procedure 26.1(d)(3), this disclosure statement must be
 promptly updated whenever any of the information required under Fed. R. App. P. 26.1 changes.
                                                   1
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                                 CERTIFICATE OF SERVICE

 I hereby certify that:

         X       All other parties to this litigation are either: (1) represented by attorneys; or
                 (2) have consented to electronic service in this case; or

                 On ____________________________ I sent a copy of this Disclosure Statement
                                 [date]



 at

 the last known address/email address, by                                                                .
                                                                 [state method of service]




 March 21, 2024
 Date

 /s/ Isaac N. Sutphin
 Signature




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